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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION


 HUAWEI TECHNOLOGIES CO., LTD.,
 a Chinese corporation, and
 FUTUREWEI TECHNOLOGIES, INC., a                   No. 4:17-cv-893 ALM
 Texas corporation,

             Plaintiffs,
                                                   Jury Trial Demanded
       v.
                                                  FILED UNDER SEAL
 YIREN RONNIE HUANG, an individual, and
 CNEX LABS, INC., a Delaware Corporation,

             Defendants.



            PLAINTIFFS’ SUR-REPLY IN FURTHER OPPOSITION TO
                DEFENDANTS’ FOURTH MOTION TO COMPEL
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       Plaintiffs Huawei Technologies Co., Ltd. (“Huawei”) and Futurewei Technologies, Inc.

(“Futurewei”) submit this Sur-reply in Further Opposition to Defendants CNEX Labs, Inc.’s

(“CNEX”) and Yiren “Ronnie” Huang’s (“Huang”) Fourth Motion to Compel. Plaintiffs

respectfully request that the Court deny Defendants’ request for Plaintiffs source code.

       After being confronted with evidence that the claims in their Motion to Compel were

baseless, Defendants performed an abrupt about-face and emphasized a new theory in their

Reply.1 But a reply brief is not a proper vehicle for newly developed arguments only raised in

perfunctory fashion before, and for that reason alone, Defendants latest new tack to access

Plaintiffs’ source code should not be considered. United States v. Ocwen Loan Servicing, LLC,

No. 4:12-cv-543, 2016 WL 278968, at *2 (E.D. Tex. Jan. 22, 2016) (arguments raised for the

first time in a reply brief are generally waived). But even on the merits, Defendants’ new

justification for their demand—for “all versions of … all source code”—has no more merit than

the theory advanced in their Motion. As made clear in their Reply, Defendants demand access to

Plaintiffs’ source code simply because Defendants were ordered to produce their own source

code, and to further Defendants’ tit-for-tat litigation strategy. But the fact that Defendants’

source code is relevant and discoverable does not make Plaintiffs’ source code relevant or

discoverable. Each side’s request for source code should rise or fall on their own merits.

Defendants’ arguments regarding Xiamen University are an additional attempt to justify their

harassment with irrelevant allegations that the Court should reject out of hand. The Court
should deny Defendants’ Fourth Motion to Compel.

I.     Defendants seem to abandon their initial justification for inspecting Plaintiffs’
       source code.
       Defendants originally argued that Defendants had shared purported trade secret

information with Plaintiffs during a series of meetings in 2015 and 2016, under the guise of



1
 This Court did not contemplate a Reply brief, but Defendants filed the Reply without leave,
thereby necessitating Plaintiffs filing this Sur-reply after obtaining leave from the Court.
Transcript of December 17, 2018 Hearing at 73:18 - 75:20.
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Huawei becoming a customer of CNEX. 2 (Dkt. 143, pp. 2-3.) Defendants claimed that their

purported trade secret information was disclosed during those meetings and had been

incorporated into the source code for three of Plaintiffs’ memory controllers (“the Controllers”),

Defendants assert that they needed to inspect Plaintiffs’ source code for the Controllers3 to

determine whether Plaintiffs used the information disclosed in those meetings. The only

evidence that Defendants offered in support of their claim that trade secret information had been

disclosed to Plaintiffs during those meetings



                                                 (Dkt. 143, p. 4.)

        Defendants did not share trade secret information with Plaintiffs in 2015 or 2016, and
certainly not trade secret information that would implicate the source code for the Controllers.

Instead, as set forth in the declarations of the individuals who attended those meetings,



                                                                                       (Dkt. 148,

pp. 6-8.) In fact, and as shown in Plaintiffs’ Response and the supporting declarations, even the
documents relied upon by Defendants in their Motion showed Plaintiffs’ engineers discussing the

fact that the concepts relayed by CNEX were high-level concepts of general technologies that

were already well-known to Plaintiffs, and were being used or developed by other companies

already. (Id.)


2
  As explained in Plaintiff’s Opposition, the theory advanced in Defendants’ Motion differed
from the original rationale Defendants presented to the Court in their December 3rd letter. (See
Dkt. 147, p. 5.) In short, Defendants now resort to a third theory for why they should be given
access to Plaintiffs’ source code.
3
 Defendants’ Motion asked for all source code for the 1812, 1813, and 1822 controllers. (Dkt.
144, p. 4.) Plaintiffs’ Response pointed out that there is no 1813 controller—

           (Dkt. 148, p. 1, n. 1.) Defendants’ Reply makes much of this fact; arguing—without
explanation—that it is more proof as to the relevance of Plaintiffs’ source code. (Dkt. 149, p. 1.)
But Defendants’ insistence on source code for a controller that does not exist is further evidence
that Defendants do not know what they are asking for in their scattershot demand.


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       In their Reply, Defendants do not address the declarations attached to Plaintiffs’

Response or offer any further explanation as to how the “evidence” attached to Defendants’

Motion to Compel supports their claims. Defendants’ Reply still does not explain how lengthy

exhibits attached to Defendants’ Motion support the claim that Plaintiffs misappropriated

CNEX’s purported trade secrets. And despite Plaintiffs pointing out that Defendants did not

identify what portion of those lengthy exhibits Defendants were relying upon, Defendants

instead simply cite to the exhibits in their entirety again. (Dkt. 149, p. 2.) Defendants’ silence

appears to concede that there is no credible evidence to support their claim that Plaintiffs

misappropriated their so-called trade secret information through meetings in 2015 and 2016. Not

only do the documents that Defendants rely upon for that claim not state as much, but

Defendants offer no other evidence in support of that claim in their Reply. Thus, the Court

should deny Defendants’ Motion.
II.    Defendants’ new argument as to the relevancy of Plaintiffs’ source code also fails.
       Rather than using their Reply to address the evidence or arguments in Plaintiffs’

Response, Defendants instead appears to shift gears and focus on their claim that their purported

trade secrets were misappropriated through a different and new avenue. Specifically,

Defendants claim that



                                                                                      (Dkt. 149, p.

1.) But yet again, Defendants offer no evidence for this allegation other than pointing to their
own unsubstantiated pleadings. Id. And even those pleadings do not contain the allegations that

Defendants now insist they do. Despite claiming in the Reply that they do allege that Plaintiffs

accessed CNEX’s source code, Defendants never allege that in their Counterclaims. (Id.) This

fact alone would seem to doom Defendants’ ever-shifting argument. To be sure, the portion of

the Counterclaims in which Defendants now claim they alleged that Plaintiffs accessed CNEX’s

source code actually says no such thing; rather, it alleges that Huawei attempted to obtain a “part

number” and pricing information from Xiamen University. (Dkt. 132, pp. 19-21.) Defendants


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do not explain—nor could they—how a “part number” and pricing information could possibly be

reflected in Plaintiffs’ source code for the Controllers. There is no allegation in the

Counterclaims, and certainly not in the portion cited by Defendants’ Reply, claiming that

Plaintiffs accessed CNEX’s source code through Xiamen University.

       Notably, Plaintiffs already produced their relevant, non-privileged communications with

representatives of Xiamen University, and Defendants had those communications before filing

their Reply brief.



                                                                                           Yet the

Reply does not reference a single document substantiating Defendants’ allegations that Plaintiffs
did anything improper with Xiamen University or any other third party, much less that Plaintiffs

attempted to misappropriate CNEX’s source code. Defendants do not point to any support for

the claim Plaintiffs obtained CNEX’s SDK technology, that the SDK technology contains

CNEX’s source code, or that the SDK technology has anything to do with the Controllers.

Defendants do not cite to any documents substantiating their claims about alleged

misappropriation of CNEX source code or trade secrets with Xiamen University because none

exists. Yet again, Defendants are seeking access to Plaintiffs’ most sensitive and closely-

guarded trade secret information based on nothing more than unsubstantiated allegations that

Defendants are unable to back up with any credible evidence, despite the millions of pages of

documents produced so far in this case. This Court should not accept Defendants’ bald

assertions at face value. For these reasons as well, Plaintiffs respectfully request that the Court

deny Defendants’ Motion.
III.   Defendants ask the Court to ignore the burden their request would put on Plaintiffs.
       Defendants’ Reply argues that any burden on Plaintiffs in producing source code should

not impact this Court’s analysis of whether Plaintiffs’ source code should be produced.

However, this misses the point. When information sought in discovery appears to be of nominal

relevance to the claims and defenses in a lawsuit, this Court can and should take into account the


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burden of producing such information, particularly when the request appears to be predicated on

a copy-cat approach to litigation. See Gondola v. USMD PPM, LLC, 223 F. Supp. 3d 575, 579

(N.D. Tex. 2016) (denying discovery request as overbroad and noting that courts should take into

account “whether the burden or expense of the proposed discovery outweighs its likely

benefit.”). The 2015 Amendments to Federal Rule of Civil Procedure codified that requirement

when the rule was changed to state that discovery must be “relevant to any party’s claim or

defense and proportional to the needs of the case, considering the importance of the issues at

stake in the action, the amount in controversy, the parties’ relative access to relevant information,

the parties’ resources, the importance of the discovery in resolving the issues, and whether the

burden or expense of the proposed discovery outweighs its likely benefit.” FED. R. CIV. P.
26(b)(1) (emphasis added).

         Plaintiffs submitted declarations setting forth the undue burden in responding to

Defendants’ demand for “all versions of … all source code” for three highly complex memory

controllers. (Dkt. 147, pp. 12-13.) Those declarations confirm what Plaintiffs’ counsel

consistently explained in written correspondence, telephonic meet-and-confers, and the

December 10th telephonic hearing: Defendants’ request is unreasonably expansive and

onerous. Yet even at this late date, Defendants demand all of the Controller code. The Court

should not endorse Defendants’ all-or-nothing demand when Defendants should know that it is

not relevant to any claim or defense and, even if it were, is too onerous (perhaps by design) to be

undertaken without Herculean effort by Plaintiffs and otherwise disproportionate to its probative

value.

IV.      Conclusion
         Plaintiffs respectfully request that the Court deny Defendants’ Fourth Motion to Compel.




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  Dated: December 26, 2018           RESPECTFULLY SUBMITTED

                                     By:     /s/ Clyde M. Siebman

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on December 26, 2018, to all counsel of record who are deemed to
have consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).



                                            By:    /s/ Clyde M. Siebman


                                                   Counsel for Huawei Technologies Co., Ltd.
                                                   and Futurewei Technologies, Inc.




            CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       This Motion is filed under seal pursuant to Local Rule CV-5(a)(7) and the Protective Order

entered in this case on October 2, 2018 (Dkt. #118). The Motion refers to and incorporates

documents identified as “Restricted Information” pursuant to the Protective Order. (Dkt. #118).

                                            /s/ Clyde M. Siebman
                                            Clyde M. Siebman




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